      Case 1:20-cv-03162-SMJ     ECF No. 27   filed 06/01/21   PageID.105 Page 1 of 2



                                                                            FILED IN THE

1                                                                       U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON



2                                                                  Jun 01, 2021
                                                                       SEAN F. MCAVOY, CLERK


3                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
4
     NORA K., THOMAS B., and                   No. 1:20-cv-03162-SMJ
5    GABRIEL B.,

6                             Plaintiffs,      ORDER DISMISSING CASE

7                v.

8    UNITED HEALTHCARE
     SERVICES, INC. d/b/a UNITED
9    HEALTHCARE, SCHUMACHER
     GROUP OF DELAWARE, INC.
10   as plan Administrator d/b/a
     THE SCHUMACHER GROUP or
11   SCP – HEALTH, and
     SCHUMACHER GROUP CHOICE
12   PLUS PLAN (7OC),

13                            Defendants,

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           On June 1, 2021, the parties filed a stipulated dismissal, ECF No. 26.
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     Consistent with the parties’ agreement and Federal Rule of Civil Procedure 41(a),
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     IT IS HEREBY ORDERED:
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           1.    The parties’ Stipulated Motion to Dismiss Without Prejudice, ECF
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                 No. 26, is GRANTED.
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           2.    The parties’ stipulations contained in ECF No. 26 are APPROVED,
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                 ADOPTED, and INCORPORATED in this Order by reference.


     ORDER DISMISSING CASE – 1
       Case 1:20-cv-03162-SMJ     ECF No. 27    filed 06/01/21   PageID.106 Page 2 of 2




1          3.     All claims are DISMISSED WITHOUT PREJUDICE, with all

2                 parties to bear their own costs and attorney fees.

3          4.     All pending motions are DENIED AS MOOT.

4          5.     All hearings and other deadlines are STRICKEN.

5          6.     The Clerk’s Office is directed to CLOSE this file.

6          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

7    provide copies to all counsel.

8          DATED this 1st day of June 2021.

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10                      SALVADOR MENDOZA, JR.
                        United States District Judge
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     ORDER DISMISSING CASE – 2
